


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Melendez, J.), imposed July 31, 2015, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s purported waiver of his right to appeal was invalid (see People v Bradshaw, 18 NY3d 257 [2011]; People v Brown, 122 AD3d 133 [2014]) and, thus, does not preclude review of his excessive sentence claim. However, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Chambers, Roman, Cohen and Hinds-Radix, JJ., concur.
 
